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                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

MICHAEL L. SHAKMAN, et al.,                 )
                                            )
       Plaintiff,                           )
                                            )       Case No. 69 C 2145
              vs.                           )
                                            )       Hon. Sidney I. Schenkier
COOK COUNTY CLERK,                          )
                                            )
       Defendant,                           )
                                            )
       Non-Party Subpoena Recipient.        )


                    AFFIDAVIT OF HENDERSON YARBROUGH, SR.

Henderson Yarbrough, Sr., having been first duly sworn, states as follows:

    1.      I am the Chairman of Citizens to Elect Karen Yarbrough (“CEKY” or the
“Committee”).

       2.     CEKY is a candidate political committee operating pursuant to the Illinois
Campaign Disclosure Act (“Act”), PA 78-118 for over 20 years. It has two officers -- a
Chairman and a Treasurer. It has no employees, members, or volunteers and it holds no
meetings, rallies, fundraisers, or other events. CEKY records funds donated by individuals,
corporations, political committees and others to the Committee and disburses funds for
expenses to support its own costs and to assist the efforts of third party organizations or
individuals who raise funds for donation to CEKY.

      3.      CEKY utilizes two databases: (1) the State of Illinois IDIS web-based finance
software to record all donations and expenditures as required by the Act and to file all required
finance reports and (2) Constant Contact, a paid software program that collects contact
information.

       4.     The only records and reports maintained by CEKY are those required by the Act.
CEKY does not maintain files of fundraisers, events or other activities sponsored by third
parties on behalf of Karen Yarbrough nor does it maintain copies of Nominating Petitions
circulated on the candidate’s behalf. Those Petitions are filed as required by law and are
publicly available.

      5.     On or about December 20, 2019, CEKY replied to a non-party subpoena to
produce documents served upon it by attorney Ernesto Paloma, as limited by the court on
October 31, 2019. CEKY’s response was further supplemented on January 6 and 9, 2020.




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      6.      Using the list provided by Mr. Palomo in Exhibit A to the subpoena for
documents, and identified as Clerk Employees, CEKY conducted a diligent search of its files
and records for materials responsive to the subpoena, as limited by the court’s order, including
but not limited to its IDIS and Constant Contact accounts, social media, bank records, and the
phone and e-mail of CEKY officers. CEKY has no knowledge as to the accuracy of the list of
names provided by Mr. Palomo, but is not aware of any other individuals who worked for the
Clerk’s Office.

       7.     Except for those items that were already in the public domain, all responsive
materials in its possession, custody and control were provided. Specifically, CEKY has
produced true and accurate copies of all documents evidencing individuals contributing to
CEKY: (1) whose names match the names provided by Mr. Palomo to the subpoena for
documents and identified as Clerk Employees, and (2) whose names (and related contributions)
would not appear in the publicly available IDIS reports as the donations were below the
reporting limit required by the Act. Those names and donations are, however, still entered into
CEKY’s IDIS system.

       8.    CEKY also disclosed has produced true and accurate copies of documents
evidencing the names appearing in its system and the corresponding contact information for
those names matching the list provided by Mr. Palomo with the subpoena for documents.

       9.     CEKY’s production included when the corresponding contact information was
added to its Constant Contact account, and whether the information was added by CEKY or by
the individual at his or her own initiative. It is clear from the face of the materials produced that
the contacts were added before Karen Yarbrough was elected to the position of Clerk, and in
majority of instances well before her campaign for Clerk began. The produced information
provides:
              a. Karen Yarbrough (added by CEKY on August 5, 2011),
              b. Cedric Giles (added by CEKY on March 22, 2008),
              c. Cynthia Soto (added by CEKY August 23, 2011 and July 27, 2013),
              d. Edmund Michalowski (added by CEKY on September 20, 2014),
              e. Jacqueline Thomas (added by CEKY on March 29, 2016),
              f. Jamica Davis (added by CEKY on May 7, 2018),
              g. John Mirkovic (added by contact, website sign-up on May 20, 2013)
              h. Kevin McDermott, (added by CEKY on April 16, 2008 and January 25,
                   2010), and
              i. Timothy Curry (added by CEKY on July 13, 2009).

      10.     CEKY’s contacts have been made available to other organizations assisting
CEKY. Through Constant Contact, individuals or entities can add themselves to CEKY’s
contacts and those contacted through CEKY’s account can unsubscribe or update their
information, as necessary.

     11.    I understand that Plaintiffs assert, in their underlying motion against the Cook
County Clerk that they believe a non-exempt employee received a text message advertising a




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fundraiser for the Clerk. As part of the due diligence search of CEKY records, a specific search
was made for any such text message(s) and there are none.

      12.     On or about January 31, 2020, I received a subpoena to testify served by mail
upon CEKY from attorney Brian Hayes demanding that CEKY produce an officer to testify on
February 5, 2020 regarding 42 items contained in the Exhibit A attached to the subpoena.

       13.    I have reviewed Exhibit A to the subpoena to testify and the Matters for
Deposition listed in it and, applying the prior limitations imposed by the court, limited to
January 1, 2017 to present and to the Clerk’s Office, can state generally that CEKY has no
further documents or testimony responsive to either non-party subpoena.

        14.    With specific reference to the Matters for Deposition attached to the subpoena to
testify, and as limited to January 1, 2017 to present and to the Clerk’s Office, CEKY states as
follows:

   a) As to Matter for Deposition No. 1: CEKY has no knowledge of “Plaintiffs’ Motion for
      Supplemental Relief” beyond what it has read in the Motion for Supplemental Relief
      and the Responses and Replies thereto.

   b) As to Matter for Deposition No. 2: The documents provided by CEKY speak for
      themselves.

   c) As to Matters for Deposition Nos. 3, 4 and 5: CEKY has no knowledge of any such
      communications identified. CEKY further notes it has no members or volunteers.

   d) As to Matter for Deposition No. 6: CEKY has no knowledge of the referenced hiring
      and training practices. CEKY further notes it has no members or volunteers.

   e) As to Matter for Deposition No. 7: CEKY has provided documentation for all requested
      information regarding contributions that cannot be publicly accessed via the reports
      posted on the Illinois Board of Elections website.

   f) As to Matters for Deposition Nos. 8, 9 and 10: CEKY has no knowledge of the
      referenced hiring practices or policies and procedures.

   g) As to Matter for Deposition No. 11:

           o (a), and (b): CEKY records funds donated by individuals, corporations, political
             committees and others to the Committee and disburses funds for expenses to
             support its own costs and to assist the efforts of third party organizations or
             individuals who raise funds for donation to CEKY. Records regarding
             contributions and expenditures were already produced or are publicly available
             as posted on the Illinois Board of Elections website, and were not reproduced by
             agreement.     CEKY has no testimony regarding fundraising activity or




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            fundraising events beyond what is stated in the documents already provided and
            those publicly available.
          o 11(c): the election petitions are publicly available, are confirmed to be in
            Plaintiffs’ possession and speak for themselves. CEKY does not have copies.
          o 11(d) through (g): CEKY does not engage in the listed activities and has no
            further records or information beyond what was already described.

   h) As to Matters for Deposition Nos 12 and 13: CEKY has no knowledge of the referenced
      policies and procedures and does no such “tracking.” CEKY uses the State of Illinois
      IDIS web-based finance software to record all donations and expenditures as required by
      the Act. CEKY records contributions by individuals, corporations, political committees
      and others to the Committee and disburses funds for expenses to support its own costs
      and to assist the efforts of third party organizations or individuals who raise funds for
      donation to CEKY. Records regarding contributions and expenditures were already
      produced or are publicly available as posted on the Illinois Board of Elections website,
      and were not reproduced by agreement.

   i) As to Matter for Deposition No. 14: CEKY has no knowledge of communications
      requested beyond those already provided in response to the subpoena for documents.

   j) As to Matter for Deposition No. 15: CEKY has no policies and procedures beyond
      allowing individuals and/or entities to add themselves to CEKY’s contacts and if
      contacted through CEKY’s account, can unsubscribe or update their information as they
      see fit.

   k) As to Matter for Deposition No. 16: CEKY maintains its records in accordance with the
      record retention requirements of the Act and applicable laws. CEKY uses the State of
      Illinois IDIS web-based finance software to record all donations and expenditures as
      required by the Act. CEKY does not maintain records of activities done on its behalf by
      third-parties.

   l) As to Matters for Deposition Nos. 17, 18 and 19: CEKY has no such policies.

   m) As to Matter for Deposition No. 20: CEKY has no volunteers or members. Information
      regarding CEKY donors has been provided in response to the subpoena for documents
      or is publicly available on the Illinois Board of Elections website.

   n) As to Matter for Deposition No. 21: Proviso Township Democratic Organization
      (“PTDO”) is a volunteer organization that, among other things, provides volunteer,
      fundraising and other assistance to Democratic candidates for public office as approved
      by its officers and members, including Karen A. Yarbrough, the political candidate for
      which CEKY provides campaign fundraising collections, expenditures, and disclosures.
      The two CEKY officers are both members of PTDO. CEKY provides some financial
      support for the activities and events of PTDO that promote Karen A. Yarbrough’s
      candidacies.




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